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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                           District of Nevada

                  United States of America                         )
                             v.                                    )      Case No. 2:11-cr-057-LDG-RJJ
                                                                   )
                          Josh Patton,                             )
                             Defendant                             )

ORDER SCHEDULING AN INITIAL APPEARANCE AND ARRAIGNMENT AND PLEA DETENTION HEARING



          A continued initial appearance and detention hearing in this case is scheduled as follows:

          Lloyd D. George Federal Courthouse
Place:    333 Las Vegas Boulevard South                                   Courtroom No.:      3A
          Las Vegas, Nevada 89101                                                             Wednesday, March 9, 2011,
          Before the Honorable Magistrate Judge George W. Foley, Jr.      Date and Time:
                                                                                              at 3:00 p.m.

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:          Mar 7, 2011
                                                                                             Judge’s signature

                                                                                     LAWRENCE R. LEAVITT
                                                                                UNITED STATES MAGISTRATE JUDGE
                                                                                           Printed name and title
